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12
                                   UNITED STATES DISTRICT COURT
13
                                NORTHERN DISTRICT OF CALIFORNIA
14
15   JONATHAN HOANG TO; JEFFRY HEISE;                   Case No. 3:24-CV-06447-WHO
     and JOSEPH MULL, individually and on
16   behalf of all others similarly situated,           PLAINTIFFS’ OPPOSITION TO
                                                        DEFENDANT’S MOTION TO
17                                                      DISMISS, TRANSFER, OR STAY
                            Plaintiffs,                 UNDER THE FIRST-TO-FILE RULE
18                                                      (Dkt. 62)
19   v.                                                 Judge:        Hon. William H. Orrick
                                                        Courtroom: 2
20   DIRECTTOU, LLC, a Delaware Limited                 Hearing Date: March 5, 2025
     Liability Company                                  Hearing Time: 2:00 p.m.
21
                           Defendant.
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             PLAINTIFFS’ OPPOSITION TO DEFENDANT’S MOTION TO DISMISS, TRANSFER, OR STAY UNDER THE FIRST-
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1              Plaintiffs submit the following response in opposition to the Motion to Dismiss, Transfer, or
2    Stay Under the First-to-File Rule filed by Defendant DirectToU, LLC (Dkt. 62 (the “Motion”)).
3        I.     INTRODUCTION
4              The Court should deny Defendant’s Motion as moot. On February 7, 2025, after the Court

5    granted Plaintiff Hoang To leave to amend (Dkt. 67), Plaintiff filed his Third Amended Complaint
6    (Dkt. 68), which, inter alia, adds two of the plaintiffs in the Feller v. Alliance Entertainment, LLC, No.
7    24-cv-61444-RAR (S.D. Fla.) (“Feller Action”) as the named Plaintiffs in the instant case,1 and the
8    Feller plaintiffs then promptly filed a notice of dismissal in the Feller Action pursuant to Rule
9    41(a)(1). Because the Feller Action has been dismissed, Defendant’s request that the Court dismiss,
10   stay, or transfer this case (to allow the litigation to proceed in the Feller Action) should be denied as
11   moot. See Church of Scientology of California v. United States Dept. of the Army, 611 F.2d 738, 749
12   (9th Cir. 1979) (first-to-file doctrine “permits one district to decline judgment on an issue which is
13   properly before another district”) (emphasis added).
14             Even if the Feller Action’s dismissal somehow does not render the Motion moot, the Motion
15   also fails because the Court has already carefully considered and previously denied an identical motion
16   filed by the Feller plaintiffs (then in their capacity as proposed intervenors) to dismiss/transfer/stay
17   this action in favor of the Feller Action. (Dkt. 57.) And there is no reason why the Court should
18   reconsider its prior decision on the exact same question.
19             In fact, the current circumstances present an even stronger set of facts for denying the relief
20   sought in the Motion. For one thing, as previously mentioned, the first-to-file rule cannot possibly
21   apply given that the Feller Action has been dismissed. Moreover, even prior to the Feller Action’s
22   dismissal, the court presiding over the Feller Action, after being informed that this Court denied the
23   motion for preliminary approval, extended the stay of the Feller Action2 instead of lifting it as
24   Defendant had requested – effectively ceding control over the litigation to this Court. And critically,
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26   1
       One of the named plaintiffs in the Feller Action, Douglas Feller, no longer wishes to be involved in
     the litigation and is thus no longer prosecuting these claims as a named plaintiff.
27   2
       On January 28, 2025, after Defendant and the Feller Plaintiffs informed the court presiding over the
28   Feller Action of the status of the instant case, the Feller court extended the stay in the Feller Action
     over the Defendant’s objection. See Dkt. 65.
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1    the interests of judicial economy weigh in favor of the litigation proceeding in this forum, where this
2    Court has already expended considerable resources resolving the motion for preliminary approval (and
3    the objections thereto) and is thus familiar with the issues in the case.
4            For all these reasons, Plaintiffs respectfully urge the Court to deny Defendant’s Motion.

5     II.     RELEVANT FACTUAL AND PROCEDURAL BACKGROUND
6            On August 12, 2024, Plaintiff Hoang To filed this putative class action lawsuit in Alameda
7    County Superior Court, alleging, on behalf of Plaintiff and a putative class of California consumers,
8    that Defendant violated the Video Privacy Protection Act, 18 U.S.C. § 2710 et seq. (the “VPPA”), Cal.
9    Civil Code § 1799.3, and Cal. Business & Professions Code §§ 17200 et seq. (“UCL”) by disclosing
10   its customers’ personally identifying information (“PII”) through the Meta pixel. Defendant removed
11   the case to this Court on September 12, 2024 (Dkt. 1) and Plaintiff subsequently filed a First Amended
12   Complaint which added a putative nationwide class with a California subclass. Dkt. 10.
13           On October 23, 2024, the Parties executed a Class Action Settlement Agreement. See Dkt. 29-
14   1.
15           On October 28, 2024, plaintiffs in the Feller Action filed a motion to intervene and to dismiss,
16   stay, or transfer the instant case to the Southern District of Florida pursuant to the first-to-file doctrine.
17   Dkt. 14. On November 12, 2024, Defendant filed a response in opposition to the Feller plaintiffs’
18   motion to intervene and to dismiss, stay, or transfer this action. Dkt 34.
19           On November 1, 2024, Plaintiff filed the operative Second Amended Complaint (Dkt. 23)
20   adding allegations that Defendant also violated the VPPA through renting and/or selling its customers’
21   PII to non-Meta third-parties.
22           On November 4, 2024, Plaintiff filed a Motion for Preliminary Approval of Class Action
23   Settlement. Dkt. 26.
24           On October 24, 2024, Defendant moved the Feller Court to enter a stay pending approval of
25   the Class Action Settlement, and on November 12, 2024, the Feller Court granted Defendant’s motion
26   to stay the Feller Action and administratively closed the case. Decl. of Julian Hammond ISO
27   Plaintiffs’ Opposition to Def.’s Motion (“Hammond Decl.”) ¶ 2.
28
     PLAINTIFFS’ OPPOSITION TO DEFENDANT’S MOTION TO DISMISS, TRANSFER, OR STAY UNDER THE FIRST-TO-FILE
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1            On December 4, 2024, the Court heard the Feller Plaintiffs’ motion to intervene and dismiss,
2    and Plaintiff’s motion for preliminary approval of the class action settlement. Dkt 55. Following the
3    hearing, the Court denied all three motions, with the motion for preliminary approval denied without
4    prejudice. Dkt. 57. In denying the Feller Plaintiffs’ motion to dismiss, stay and/or transfer, the Court

5    found that the interests of judicial economy weighed in favor of denying the motion to dismiss, stay, or
6    transfer because the instant case and the Feller Action were filed only a few days apart, the instant
7    case had “moved further along” than the Feller Action, the claims in this case encompassed the claims
8    in Feller, the Feller Action had been stayed, and there was therefore no risk of inconsistent rulings or
9    wasted judicial resources. Id. at pp. 1, 3-4. Unlike with respect to the motion for preliminary
10   approval, the Court did not state that its denial of the motion to transfer was without prejudice. See Id.
11   at pp. 3-4.
12           In denying the motion for preliminary approval, the Court “encourage[d] all counsel – for the
13   parties and for Feller – to meet and confer to determine if a revised global settlement can be reached
14   that appropriately accounts for the non-Meta pixel claims,” or alternatively to submit “a renewed
15   motion for preliminary approval that provides a reasoned valuation for the non-Meta pixel claims and
16   additional support demonstrating that the existing settlement was reached after sufficient discovery, all
17   showing why the settlement is fair, reasonable, and adequate.” Dkt. 57 at 1.
18           Pursuant to the Court’s Order, Plaintiff Hoang To met and conferred with Defendant regarding
19   additional discovery as to the non-Meta VPPA claim. During the meet and confer process it became
20   apparent to Plaintiff Hoang To that additional discovery, including third party discovery, was needed
21   in order to properly evaluate the non-Meta pixel claims. However, the parties were unable to reach
22   agreement on additional discovery, and Plaintiff Hoang To filed a motion on January 17, 2025, to open
23   limited discovery. Dkt. 59. Defendant opposed Plaintiff’s motion and took the position that this Court
24   was no longer the appropriate forum in which to litigate this case. Defendant stated that it anticipated
25   that the Southern District of Florida would lift the stay in the Feller Action in light on this Court’s
26   denial of the motion for preliminary approval. Dkt. 60. However, on January 28, 2025, following
27   submission of a joint status report by the Feller Plaintiffs and Defendant apprising the Feller Court of
28   the status of this case, the Feller Court ordered the Feller Action remain stayed “[b]ecause litigation
     PLAINTIFFS’ OPPOSITION TO DEFENDANT’S MOTION TO DISMISS, TRANSFER, OR STAY UNDER THE FIRST-TO-FILE
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1    remains active in the Hoang To action on a number of fronts, including on matters that may be case-
2    dispositive of this action” and denied Defendant’s request to submit a revised scheduling order for the
3    rest of the Feller case. See Dkt. 65.
4           Counsel for Plaintiff and the Feller Plaintiffs recently agreed to jointly prosecute this litigation.

5    Hammond Decl. ¶ 6. To that end, Plaintiff filed a Third Amended Complaint on February 7, 2025
6    (Dkt. 68), after the Court granted Plaintiff leave to amend (Dkt. 67). The Third Amended Complaint
7    adds two of three Feller plaintiffs as named plaintiffs in this case, names Alliance Entertainment, LLC
8    (a defendant in the Feller Action, in addition to DirectToU, LLC) as the named Defendant, and adds
9    additional factual allegations in support of the existing causes of action. On February 7, 2025,
10   promptly following the filing of the Third Amended Complaint, the Feller plaintiffs filed a notice of
11   dismissal in the Feller Action pursuant to Federal Rule of Civil Procedure 41(a)(1). Hammond Decl. ¶
12   8.
13   III.    ARGUMENT
14          A. Legal Standard
15          The first-to-file doctrine is “a discretionary doctrine which permits one district to decline
16   judgment on an issue which is properly before another district.” Church of Scientology of California,
17   611 F.2d at 749. “When a complaint involves the “same parties and issues,” a district court may
18   decline jurisdiction in favor of the first filed action. Browning v. Yahool, Inc., No. C04-01463-HRL,
19   2004 WL 2496183, at *5 (N.D. Cal. Nov. 4, 2004), citing Pacesetter Systems, Inc. v. Medtronic, Inc.,
20   678 F.2d 93, 95 (9th Cir. 1982). “Normally sound judicial administration would indicate that when
21   two identical actions are filed in courts of concurrent jurisdiction, the court which first acquired
22   jurisdiction should try the lawsuit and no purpose would be served by proceeding with a second
23   action.” Pacesetter Systems, Inc., 678 F.2d at 95. “However, the ‘first to file’ rule is not a rigid
24   or inflexible rule to be mechanically applied, but rather is to be applied with a view to the dictates of
25   sound judicial administration.” Pacesetter Systems, Inc. v. Medtronic, Inc., 678 F.2d at 95.
26          In determining whether to dismiss/stay/transfer an action under the first-to-file doctrine, courts
27   are afforded “an ample degree of discretion, appropriate for disciplined and experienced judges[.]”
28
     PLAINTIFFS’ OPPOSITION TO DEFENDANT’S MOTION TO DISMISS, TRANSFER, OR STAY UNDER THE FIRST-TO-FILE
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1    Kerotest Manufacturing Co. v. C-O-Two Fire Equipment Co., 342 U.S. 180, 183-84 (1952); see also
2    Alltrade, Inc. v. Uniweld Products, Inc., 946 F .2d 622, 628 (9th Cir. 1991).
3
4              B. The Court Should Deny Defendant’s Motion as Moot

5              In its Motion, Defendant asks this Court to dismiss/stay/transfer this case to make way for the
6    litigation to proceed in the Feller Action. However, the Court cannot grant Defendant the relief it
7    seeks because the Feller Action has now been dismissed.        See Church of Scientology of California,
8    611 F.2d at 749 (first-to-file doctrine “permits one district to decline judgment on an issue which is
9    properly before another district”) (emphasis added). On this basis alone, the Motion should be denied
10   as Moot.
           C. Even if Defendant’s Motion is Not Moot, The Court Should Deny It Because the
11            Court Has Already Considered and Declined to Dismiss/Stay/Transfer this Case
              Under the First-Filed Doctrine
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               Even if the Motion were not moot – and it is – the Motion still fails because this Court has
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     already considered and previously rejected an identical motion to dismiss, stay, or transfer on first-to-
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     file grounds filed by the Feller plaintiffs as proposed intervenors.3 In denying the Feller plaintiffs’
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     motion, the Court observed that the instant action and the Feller Action were filed only within a few
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     days of each other, that the instant action has “moved further along” than the Feller Action, that the
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     instant action covered the claims asserted in Feller, and that the Feller Action had been stayed and
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     administratively closed, to allow this Court to consider settlement approval. Dkt. 57 at pp. 1, 3. Based
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     on these findings, the Court concluded that there was no risk of inconsistent rulings or wasted judicial
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     resources, and that judicial economy weighed in favor of denying the motion to dismiss or transfer. Id.
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     at pp. 3-4. The current circumstances present an even stronger set of facts for denying the Motion to
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     dismiss/stay/transfer under the first-filed doctrine. On January 28, 2025, the court presiding over the
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     Feller Action opted to extend the stay of the Feller Action after being informed of this Court’s denial
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     of the motion for preliminary approval and the parties’ subsequent filings. See Dkt. 65-1. And, after
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     the filing of the Third Amended Complaint, the Feller plaintiffs dismissed their Feller Action.
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     3
      It bears noting that in denying the motion to dismiss/transfer filed by the Feller Plaintiffs’ the Court
     did not state that dismissal was without prejudice. See Dkt. 57 at pp. 3-4.
         PLAINTIFFS’ OPPOSITION TO DEFENDANT’S MOTION TO DISMISS, TRANSFER, OR STAY UNDER THE FIRST-TO-FILE
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1    Hammond Decl. ¶ 8. Accordingly, there is no threat of inconsistent rulings or wasted judicial
2    resources if this litigation is allowed to proceed in this Court in a consolidated fashion.
     ///
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4

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            D. Additional Factors Support Denial of Defendant’s Motion
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            Moreover, permitting the litigation to proceed in this Court in a consolidated fashion would
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     also serve the interests of judicial efficiency, in several respects. First, this Court has now developed
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     substantial familiarity with the allegations and issues underlying the claims in this litigation, including
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     in the course of resolving Plaintiff’s motion for preliminary approval (and the objections thereto), the
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     Feller Plaintiffs’ motion to intervene, and their motion to dismiss/stay/transfer, as well as in
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     conducting multiple case management conferences. Second, in light of the significant motion practice
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     described above, this case has “moved further along” than the Feller Action had prior to its dismissal,
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     as this Court correctly recognized in its decision denying the Feller plaintiffs’ motion to intervene and
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     to dismiss, stay, or transfer on first-to-file grounds. Dkt. 57 at 1. Third, by continuing the stay of the
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     Feller Action on January 28, 2025, over Defendant’s objection, the court presiding over the Feller
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     Action effectively stepped aside to allow this Court to preside over the litigation. And finally, by
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     granting Plaintiff leave to file the Third Amended Complaint, which added the Feller plaintiffs and led
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     to the dismissal of the Feller Action, this Court has already laid the groundwork for the litigation to
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     proceed in a consolidated fashion in the instant forum, and there is no reason for the Court to second
20
     guess that decision.
21
     IV.    CONCLUSION
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            For the foregoing reasons, the Motion should be denied in its entirety.
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24
     DATED: February 10, 2025                                      Respectfully submitted,
25
26                                                                         s/ Julian Hammond
                                                                   Julian Hammond
27                                                                 Counsel for Plaintiffs and Putative Classes

28
     PLAINTIFFS’ OPPOSITION TO DEFENDANT’S MOTION TO DISMISS, TRANSFER, OR STAY UNDER THE FIRST-TO-FILE
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